
724 S.E.2d 506 (2012)
STATE
v.
Don Frederick SAUER.
No. 426P11-1.
Supreme Court of North Carolina.
March 8, 2012.
Douglas W. Corkhill, Assistant Attorney General, for State of North Carolina.
Don Frederick Sauer, Windsor, for Sauer, Don Frederick.
Bruce T. Cunningham, Jr., Southern Pines, for Sauer, Don Frederick.
Frank R. Parrish, District Attorney, for State of North Carolina.
The following order has been entered on the motion filed on the 7th of October 2011 by Defendant to Proceed In Forma Pauperis:
"Motion Allowed by order of the Court in conference, this the 8th of March 2012."
